Case 2:05-cr-20046-.]PI\/| Document 17 Filed 04/25/05 Page 1 of 3 Page|D 21

 

 

:N THE UNITED sTATES DISTRICT COURT H¢'- {3'
FOR res wEsTERN DIsTRICT OF TENNESSEE
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hip "\:;.K‘.§" `i" )TV..
UNITED sTATss oF AMERICA "‘"B- 5” 11\1. emma 53

Plaintiff,

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{)u; ,;Q¢zs,,§/.,
b _ 24 Ml

v. Criminal No.

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(30-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §¢QQ
a.m. on Friday; Mav'27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

Fhis document entered on the docket eheet in cr:»mpiian-:q
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Case 2:05-cr-20046-.]PI\/| Document 17 Filed 04/25/05 Page 2 of 3 Page|D 22

SO ORDERED this 22nd day Of April, 2005.

§>§Qm“w£

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

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C?hnsel f /)Defend?ht(s)

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ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20046 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

